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 5
     Attorney for Defendant
     HUANCHANG MA
 6
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-11-166 MCE
 9
                                                     )
                                                     )
10           Plaintiff,                              )       STIPULATION REGARDING
                                                     )       EXCLUDABLE TIME PERIODS
11
     v.                                              )       UNDER SPEEDY TRIAL ACT;
                                                     )       FINDINGS
12
     HUANCHANG MA,                                   )
                                                     )       Date: May 2, 2013
13
                                                     )       Time: 9:00 a.m.
             Defendant.                              )       Judge: Honorable Morrison C. England, Jr.
14
                                                     )
                                                     )
15
                                                     )
16
             The United States of America through its undersigned counsel, Todd D. Leras, Assistant
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     United States Attorney, together with counsel for defendant Huanchang Ma, John R. Manning,
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19   Esq., hereby stipulate the following:

20        1. By previous order, this matter was set for status conference on March 7, 2013.
21
          2. By this stipulation, defendant now moves to continue status conference until May 2, 2013
22
     and to exclude time between March 7, 2013 and May 2, 2013 under the Local Code T-4 (to allow
23

24
     defense counsel time to prepare).

25        3. The parties agree and stipulate, and request the Court find the following:
26
             a. This case is one in a series of cases developed from a lengthy DEA/Elk Grove
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                 PD/Sac. SO investigation into “grow houses” in the Elk Grove area. Several
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                individuals have been charged. Many, if not all the defendants a part of this
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 2              investigation are non English speakers and require the services of an interpreter to

 3              communicated with. The widespread need for Cantonese/Mandarin interpreters in
 4
                this case, the companion cases(s), and in general, has made scheduling meetings very
 5
                difficult. However, as this case is winding up, scheduling has become less difficult.
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                To that end, the Defense has provided the Government with additional discovery and

 8              the Government needs to time to review the material and evaluate their next step.
 9          b. The Government does not object to the continuance.
10
            c. Based on the above-stated findings, the ends of justice served by granting the
11
                requested continuance outweigh the best interests of the public and the defendants in
12

13              a speedy trial within the original date prescribed by the Speedy Trial Act.

14          d. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
15
                Section 3161(h)(7)(A) within which trial must commence, the time period of March
16
                7, 2013 to May 2, 2013, inclusive, is deemed excludable pursuant to 18 United States
17
                Code Section 3161(h)(7)(A) ) and (B)(iv), corresponding to Local Code T-4 because
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19              it results from a continuance granted by the Court at defendant’s request on the basis

20              of the Court’s finding that the ends of justice served by taking such action outweigh
21
                the best interest of the public and the defendant in a speedy trial.
22
       4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
23
            Speedy Trial Act dictate that additional time periods are excludable from the period within
24

25          which a trial must commence.

26
     IT IS SO STIPULATED.
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     Dated: March 4, 2013                            /s/ John R. Manning
 1
                                                    JOHN R. MANNING
 2                                                  Attorney for Defendant
                                                    Huanchang Ma
 3

 4
     Dated: March 5, 2013                           Benjamin B. Wagner
 5                                                  United States Attorney

 6                                                  by:/s/ Todd D. Leras
 7
                                                    TODD D. LERAS
                                                    Assistant U.S. Attorney
 8

 9
                                        ORDER
10          IT IS SO ORDERED.
11   Dated: March 8, 2013

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15                                      __________________________________________
                                        MORRISON C. ENGLAND, JR., CHIEF JUDGE
16                                      UNITED STATES DISTRICT JUDGE
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